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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION


MATTHEW ORSO and
NATIONWIDE JUDGMENT
RECOVERY, INC.,

       Plaintiffs,

v.                                                           Case No: 5:21-mc-27-JSM-PRL

TODD DISNER, TRUDY GILMOND,
TRUDY GILMOND, LLC, JERRY
NAPIER, DARREN MILLER,
RHONDA GATES, DAVID
SORRELLS, INNOVATION
MARKETING, LLC, AARON
ANDREWS, SHARA ANDREWS,
GLOBAL INTERNET FORMULA,
INC., T. LEMONT SILVER, KAREN
SILVER, MICHAEL VAN LEEUWEN,
DURANT BROCKETT, DAVID
KETTNER, MARY KETTNER,
P.A.W.S. CAPITAL MANAGEMENT,
LLC, LORI JEAN WEBER and
ZEEKREWARDS.COM,

       Defendants.


                                           ORDER

       This matter is before the Court on the motions of Nationwide Judgment Recovery,

Inc. as assignee of Plaintiff Matthew E. Orso, in his capacity as court-appointed successor

receiver for Rex Venture Group, LLC (“Plaintiff”) for issuance of writs of garnishment as to

Fifth Third Bank (Doc. 2) and Wells Fargo Bank (“Garnishees”) (Doc. 3). On August 14,

2017, Plaintiff obtained a judgment in the United States District Court for the Western District
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of North Carolina against each member of a Defendant class, including Defendant L A

Hodges in the amount of $9,258.81. (Doc. 1).

       On September 17, 2021, Plaintiff registered the judgment with this Court. (Doc. 1).

There remains due and owing $9,258.81, plus post-judgment interest. Now, Plaintiff moves

for the writs of garnishment and suggests that each Garnishee may have in its possession and

control certain monies or property belonging to Defendant Hodges sufficient to satisfy the

judgment in whole or in part. Pursuant to Fed. R. Civ. P. 69, the Court must follow state law

regarding garnishment procedures. See Fed. R. Civ. P. 69. Chapter 77 of the Florida Statutes

prescribes the procedure for issuance and enforcement of writs of garnishment.

       Accordingly, upon due consideration, Plaintiffs’ motions for issuance of writ of

garnishment (Docs. 2 & 3) are GRANTED, and the Clerk is directed to issue the Writs of

Garnishment (including the Notice and Claim of Exemption) attached to each motion. (Docs.

2-1, 3-1). Plaintiff must fully comply with all notice requirements of §77.041, Florida Statutes.

       DONE and ORDERED in Ocala, Florida on December 2, 2021.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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